Case 1:15-cr-20755-FAM Document 370 Entered on FLSD Docket 04/01/2016 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No.: 15-CR-20755-FAM

 UNITED STATES OF AMERICA

 vs.

 CARLEANE DIANA BERMAN,

        Defendant.
                                        /

                               GOVERNMENT=S ' 5K1.1 MOTION
                                FOR DOWNWARD DEPARTURE

        Pursuant to USSG ' 5K1.1, the United States of America hereby moves for a downward

 departure from the Sentencing Guideline range applicable to Carleane Diana Berman (“the

 ADefendant@) in order to reflect her substantial assistance in the prosecution of others. At the

 sentencing hearing, the government will provide the Court with further information regarding the

 nature and quality of the defendant’s cooperation and substantial assistance.

                                              Respectfully submitted,

                                            WIFREDO A. FERRER
                                            UNITED STATES ATTORNEY
                                        By: /s/ Marton Gyires
                                            MARTON GYIRES
                                            Assistant United States Attorney
                                            Court ID No.: A5501696
                                            U.S. Attorney=s Office - SDFL
                                            Southern District of Florida, HIDTA
                                            11200 NW 20th Street
                                            Miami, FL 33172
                                            305-715-7642 (office)
                                            786-877-2839 (cell)
                                            305-715-7639 (fax)
                                            Email: Marton.Gyires@usdoj.gov




                                                 1
Case 1:15-cr-20755-FAM Document 370 Entered on FLSD Docket 04/01/2016 Page 2 of 2



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing document was electronically filed with the

  Clerk of the Court using CM/ECF.



                                        /s/ Marton Gyires
                                        Marton Gyires
                                        Assistant United States Attorney




                                           2
